Case 4:21-cr-00222-TFH Document 18-20 Filed 04/20/21

Dr Anne Fox

April 2", 2021
‘FO: The Judge presiding in the ease of Julian EHe Khater
Dear Sir/Madam,

My name is Dr Anne Fox. I am Julian’s aunt and have therefore known him all his life, 1 am
an anthropologist and author. Until I closed the company last year, I was the Director of a
research and education company. Although ! live in England, T have visited my sister and
Julian’s family regulary, sometimes twice a yeur, since he was born.

Julian has always been dear to me as he is such an empathetic person. Even as a young boy, I
noticed that it was always Julian who carried my suitcase and made sure that I had everything
Ineeded, As he grew up, I noticed that he was always keenly aware of the needs of others.
Although a very quiet child, at sohool, whenever I would pick him up, or when [ came across
him, he would be surrounded by other children, adjudicating squabbles with calm fairness.
Aas a young man, he was studious and incredibly hard-working. He was always determined to
do something meaningful with his life. He threw himself into his business enterprise with the
unwavering belief that he was also deing good for the community. His business closed as a
result ofthe pendemic and through no lack of dedication on his part.

Most of all, I would say that Julian is fiercely loyal; he wil] stand by his friends, his family,
and his beliefs, no matter what, As far as I atn aware, Jutian has never been engaged in
violence of any kind whatsoever. On January 6°, I strongly believe, based on my
communication with him earlier that year, that, misguided as he may have been, he never had
it in his heart to do any harm to another human being.

Please do not hesitate to contact me if there is anything further I can do to help you to
understand my nephew’s character and motivations. Alongside everyone in his family, I am
committed to do anything that will help.

Sincerely,

 

Dr Anne Fox

Page 1 of 1

 

 
